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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF INDIANA
                              HAMMOND DIVISION

 UNITED STATES OF AMERICA,                )
                                          )
              v.                          )      No. 2:16 CR 174
                                          )
 DEANDREA DAVIS.                          )

                      ACCEPTANCE OF PLEA OF GUILTY AND
                              ADJUDICATION

       Pursuant to the Findings and Recommendation of the United States Magistrate

 Judge (DE # 224), to which the defendant has not objected,1 and subject to this court’s

 consideration of the Plea Agreement (DE # 190) pursuant to FED. R. CRIM. P. 11(c)(3), the

 Magistrate Judge’s findings are now ADOPTED, defendant’s plea of guilty to the

 offenses charged in Counts 8 and 17 of the Second Superseding Indictment (DE # 105) is

 now hereby ACCEPTED, and defendant is adjudged guilty of those offenses. A

 sentencing date will be set under separate order.

                                          SO ORDERED.

       Date: November 8, 2017

                                          s/James T. Moody
                                          JUDGE JAMES T. MOODY
                                          UNITED STATES DISTRICT COURT




       1
        Objections to the findings and recommendation were due November 7, 2017.
 (DE # 224.)
